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 8           IN THE UNITED STATES DISTRICT COURT
 9         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11                                                    Case No. ED CV 21-168 MRW
       ERNEST B.,1
12                                                    JUDGMENT
                            Plaintiff,
13
                  v.
14
       KILOLO KIJAKAZI,
15     Acting Commissioner of Social
       Security,
16
                            Defendant.
17
18             It is the judgment of this Court that the decision of the
19   Administrative Law Judge is VACATED, and the matter is REMANDED to
20   the Social Security Administration on an open record for further
21   proceedings consistent with the Court’s Order.
22
23
     Date: May 31, 2022
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                                                ___________________________________
25                                              HON. MICHAEL R. WILNER
                                                UNITED STATES MAGISTRATE JUDGE
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           1       Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and
27   the recommendation of the Committee on Court Administration and Case Management of the
28   Judicial Conference of the United States.
